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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )      No. 1:19-CR-00669
                                               )
      v.                                       )
                                               )      Judge Edmond E. Chang
GREGG SMITH,                                   )
MICHAEL NOWAK, and                             )
JEFFREY RUFFO.                                 )

                                        ORDER

      This Order accompanies Court Set 1 of the revised jury instructions to explain
the edits and decisions reflected in the Court’s revisions.

       Functions of the Court and the Jury (page 2). Court Set 1 adopts Seventh
Circuit Pattern 1.01, and adds the separate-consideration language proposed by the
defense (for example, “the defendant whom you are considering.” The Court generally
applies this separate-consideration language throughout Court Set 1. There are a few
spots, however, where including this language is unnecessary and renders the in-
struction too clunky (for example, in the numbered-element lists for each offense).
Aside from those spots, the separate-consideration language is generally included.

      Presumption of Innocence/Burden of Proof (page 4). Court Set 1 adopts
Pattern 1.03, which accurately describes these concepts. Separate-consideration lan-
guage is included.

       Witnesses Requiring Special Caution (page 13). Court Set 1 is Pattern
3.05 with the following modifications: first, a few style and structure changes were
made for comprehensibility. More substantively, the description of the receipt or ex-
pectation of a benefits is: “They have received or expect to receive a benefit in return
for their cooperation with the government ….” The past-tense “received” is needed for
Christian Trunz, who testified that it was his understanding that the prosecutors
were saying that he could plead guilty in a lenient jurisdiction but going to trial might
result in trial in a harsher jurisdiction. (The similar line of questioning with John

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Edmonds did not result in the same testimony.) The Court assumes that the govern-
ment would prefer not to specify that the “received” aspect applies only to Trunz, but
the government may so request at the pretrial conference. The remainder of the de-
scription of the benefit (“expect to receive a benefit”) is accurate and hinges on “in
return for their cooperation with the government.” So the government still may argue
that the substantial-assistance motion is dependent on the cooperators telling the
truth.

       Second, the Pattern instructs that the guilty pleas of the cooperator cannot be
considered as evidence against the defendant, but the wording of the Pattern assumes
that the cooperators pled guilty to committing the charged offenses (that is, the
charged offense in the current trial) with the defendants. That premise does not apply
to Mr. Flaum, but the instruction against the guilty plea’s consideration as evidence
of guilty of the trial defendants still applies. The instruction reflects that change.

       Lastly, in light of the concessions by Edmonds and Trunz that they lied during
their respective Shak depositions, the Pattern sentence for that admission is in-
cluded.

       Opinion Testimony (page 15). Court Set 1 adopts Pattern 3.13 to address
opinion testimony, but modified to cover lay-opinion testimony as well. The Commit-
tee Comment acknowledges this prospect: “If the court wishes to give an instruction
concerning the jury’s consideration of lay opinion testimony, this instruction may be
adapted for that purpose by eliminating the reference to ‘the witness’ qualifications’
as a factor to be considered.” Pattern 3.13, Committee Comment. Here, the modifica-
tion is appropriate because several witnesses offered lay opinions.

       Recorded Conversations (page 16). Court Set 1 adopts Pattern 3.14, in-
cluding the Pattern’s bracketed language on providing the transcripts if the jury asks
for them. In a case of this length, it is appropriate to help the jury with the transcripts
if they ask for them. And the instruction warns the jury that the transcripts are just
aids, not the evidence themselves. At the jury instructions conference, the Court will
ask whether the parties simply want to submit the transcripts to the jury along with
all the other allowed evidence. Separately, the instruction also is modified to refer to
the evidence display system that the jury will use for deliberations.

       The foreign-language instruction has been omitted because it appears that the
foreign-language recording will not be introduced into evidence.


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      Demonstrative Summaries and Charts Not Received in Evidence
(page 18). Court Set 1 adopts Pattern 3.17, including the bracketed language that is
given when the parties dispute the accuracy of demonstratives.

       Separate Consideration of Charges (page 20). Court Set 1 adopts Pattern
4.06 to explain that each charge must be considered separately.

       Separate Consideration of Defendants (page 21): Court Set 1 adopts Pat-
tern 4.07, including the bracketed language because some of the evidence is directed
at fewer than all of the Defendants.

       Dates and Times of Crimes Charged (page 22). Court Set 1 adopts Pattern
4.05 with two modifications. First, as the government’ proposes, adding “and times”
is appropriate given the specific times alleged and the legal principle that the specific
time (and specific date) is generally not an element of the crime. There is no basis for
the defense’s concern that this somehow undermines the unanimity requirement. But
Court Set 1 goes on to instruct the jury of a caveat: if the effective date or the statute
of limitations requires that the government must prove that the crime happened after
a specified date, then that date is indeed a fixed date and “reasonably close” is not
enough.

      Count One: Existence of Conspiracy (page 23). Court Set 1 adopts Pattern
5.08(B).

       Count One: Conspiracy to Conduct or Participate in an Enterprise En-
gaged in a Pattern of Racketeering Activity (page 24). Court Set 1 adopts the
Pattern Instruction for 18 U.S.C. § 1962(d), with the addition of separate-considera-
tion language.

       Definition of Conspiracy (page 25). Court Set 1 adopts Pattern 5.09. There
is no need to refer to “two” conspiracies, as the defense proposes, because the elements
instructions will adequately inform the jury on the separate offenses.

      Count One: First Element—Membership in Conspiracy (page 26). Court
Set 1 uses Pattern 5.10. This is the proper instruction because there is no problem
with using “knowingly” as the proper mental state because the government will not
be making a conscious-avoidance argument and the definition of conspiracy is explicit
that an agreement is required.



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       Count One: First Element—Pattern Requirement—Racketeering Con-
spiracy (Page 29). Court Set 1 uses the Pattern Instruction for 18 U.S.C. § 1962(d)
but makes one modification in response to the defense’s request that wire fraud is the
only alleged offense that can qualify as racketeering activity. So the instruction adds:
“In this case, the only offense that is alleged to constitute an ‘act of racketeering’ is
wire fraud affecting a financial institution. No other offense can qualify as an act of
racketeering in this case.”

        Count Two: Conspiracy to Commit Price Manipulation, Wire Fraud
Affecting a Financial Institution, Commodities Fraud, and Spoofing (page
32). Just as with the Count One conspiracy instruction, the defense’s request to
switch the mental state from “knowingly” to “intentionally” in this instruction is re-
jected.

       Count Two: First and Second Elements—Definition of Conspiracy and
Membership in a Conspiracy (page 33). Court Set 1 will simply refer the jury (as
proposed by the government) to the prior instructions that covered these two instruc-
tions, rather than also try to paraphrase the prior instructions.

      Count Two: First and Second Elements—Objects of the Conspiracy
(page 34). Court Set 1 adopts the government’s proposal (but modifies the word
“crime” to “crimes” to make it plural).

       Count Two: First Element—Unanimity on Objects of the Conspiracy
(page 35). Court Set 1 adopts Pattern Instruction 4.04 but tailors it to the number
of objects of the conspiracy and adds the separate-consideration language. As the in-
struction explains, there cannot be a scenario where, for example, six jurors believe
there was a conspiracy to commit commodities fraud and another six jurors only be-
lieve there was a conspiracy to commit spoofing. For unanimity, the jurors must be
unanimous on at least one of the four objectives.

       Count Two: Third Element—Overt Act (Request 38). Defense Request 38
would have required the jury to be unanimous in agreeing on which overt act fur-
thered the conspiracy. The request is rejected because, in the Court’s reading of prec-
edent, the Seventh Circuit has definitively held that unanimity on the overt act is not
required. United States v. Turner, 836 F.3d 849, 862 (7th Cir. 2016); United States v.
Griggs, 569 F.3d 341, 344 (7th Cir. 2009) (“The jurors agreed unanimously on what
crime [defendant] had committed—agreed in other words that he had taken a step
toward accomplishing the goal of the conspiracy, had gone beyond mere
words …. That they may have disagreed on what step he took was inconsequential.”).

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        Also, this separate instruction is not necessary because the “overt act” defini-
 tion is already incorporated on page 32 of Court Set 1.

       Count Two: Time Frame for Two Objects of the Conspiracy (page 36).
This instruction explains to the jury that the effective date of the commodities-fraud
object and the spoofing-offense object were triggered in 2009 and 2011 (respectively).
The defense proposal was too broadly worded and might very well have confused the
jury, because some explanation is needed to convey that evidence of the crimes spoof-
ing can be considered wire fraud even before Dodd-Frank was enacted.

       For the most part, with some legal-jargon-elimination changes and separate-
consideration language additions, Court Set 1 uses the government’s proposal. But
the government’s proposal in part was confusing, because the proposal’s second sen-
tence in the first paragraph broadly stated that there are no time restrictions price
manipulation and wire fraud. In reality, there are statute of limitations restrictions,
as well as the charged dates themselves. So that sentence was omitted.

       Counts Three and Four: Attempted Price Manipulation (page 37).
Court Set 1 adopts, for the most part, the defense’s instruction but uses the govern-
ment’s introduction. The government’s introduction is simpler and more concise. On
the elements, however, the defense instruction is better. First, the government’s ge-
neric-sounding description of the requisite intent (“intent to affect the market price”)
risks watering down the required mental state, even if defined in the next instruction.
There is no need to describe the mental state in two different ways, especially when
one way is so watered down.

       Second, the government’s proposal equates an “overt act” for conspiracy pur-
poses with a “substantial step” for attempt purposes, which is not accurate. It is true
that the cases cited by the government sometimes describe a substantial step as an
overt act, but none of the cases do so by holding that a substantial step for attempt
purposes is the same as the conspiracy-purpose version of “overt act.” Instead, the
cases seem to use “overt act” generically rather than from conspiracy law. E.g., United
States v. Muratovic, 719 F.3d 809, 815 (7th Cir. 2013). A substantial step is properly
defined by Pattern 4.09, and requires that the step “strongly corroborates” the de-
fendant’s intent to carry out the underlying crime. Court Set 1 later includes Pattern
4.09.

      Court Set 1 uses the definition of commodity from 7 U.S.C. § 1a(9) in lieu of the
defense proposal’s formulation in the elements.


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       Counts Three and Four: First Element—Intent to Create an Artificial
Price (page 38). The Court adopts the defense’s title for this instruction, but the
defense proposal is unnecessarily dense. For its part, the government’s definition was
premised on the use of the watered-down intent formulation (“intent to affect a mar-
ket price”), though the definition itself comes close to accurately defining intent to
create an artificial price. Court Set 1 uses the term “actual” as the adjective for “forces
of supply and demand,” which is supported in principle by the cases cited by both the
government and the defense, but eschews the term “legitimate,” which is unneces-
sarily value laden.

      Counts Three and Four: Second Element—Substantial Step (page 39).
As explained earlier in this Order, Court Set 1 adopts Pattern 4.09 (with separate-
consideration language).

      Counts Three and Four: Barrier-Option Evidence (Request 43). Given
the removal of barrier-options allegations from this trial, Court Set 1 eliminates this
request.

       Counts Three and Four: Timing Requirement (page 40). Court Set 1 uses
the same general format as proposed by the defense, that is, separate paragraphs for
Smith and Nowak. And the unanimity requirement is accepted from the defense pro-
posal (the government did not specifically object to the requirement). But to simplify
the instruction, Court Set 1 refers to the key date of February 1, 2014, and does not
refer to the legal jargon of “statute of limitations.”

        Counts Five Through Twenty-Two: Wire Fraud Affecting a Financial
Institution (page 41). Court Set 1 adopts the government’s proposal because it is
clearer and tracks closer to the Pattern for wire fraud, which is an accurate expres-
sion of the law. On the element of “affecting a financial institution,” the parties have
stipulated to the fifth element and the stipulation has been read to the jury. But it is
worth discussing, at the jury instructions conference, whether to simply eliminate the
fifth element completely from the instructions. The financial-institution element ac-
tually is not a required element for a § 1343 wire fraud. Instead, the financial-insti-
tution finding only elevates the statutory maximum from 20 years to 30 years. In
another words, it is merely an Apprendi element. If there is no realistic chance that
the elevated statutory maximum matters in this case, then it might be easier on the
jury to just eliminate the requirement and indeed eliminate all other references to it
throughout the instructions.



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        Counts Five Through Twenty-Two: First Element—Definition of
“Scheme to Defraud” (page 43). Court Set 1 adopts a modestly modified version of
the Pattern Instruction for scheme to defraud under 18 U.S.C. § 1343. First, Court
Set 1 adds parenthetical numbers to ensure that the structure of the sentence is clear,
so the jury understands it must find that the scheme was intended “to deceive or
cheat another” and is intended “to obtain money or property” or “cause the potential
loss of money.” This takes care of the defense’s objection that the use of the disjunctive
in “to deceive or cheat” removes a necessary feature of a scheme to defraud. See
United States v. Chanu, — F.4th —, 2022 WL 2448255, at *10 (7th Cir. July 6, 2022).

       Second, the phrases “from the alleged victims” (for obtaining money or prop-
erty) and “to the alleged victims” (for causing loss of money or property) are added to
the instruction. These additions make it clear that a scheme to defraud must be in-
tended to obtain property from the victim or inflict loss to the victim, rather than a
mere plan that incidentally obtains property or incidentally inflicts losses. See Kelly
v. United States, 140 S. Ct. 1565, 1571 (2020) (explaining that a scheme must intend
to “obtain[] money or property”) (quoting 18 U.S.C. § 1343); see id. at 1573 (explaining
that “a property fraud conviction cannot stand when the loss to the victim is only an
incidental byproduct of the scheme”).

        On the omissions aspect of the instruction, the Seventh Circuit has made clear
that half-truths and omissions are another way to accomplish a fraudulent misrepre-
sentation, Chanu, 2022 WL 2448255, at *9 (explaining that “the Supreme Court has
explicitly held that a material omission can amount to wire fraud”) (emphasis in orig-
inal), and omissions are a viable theory in this case. “Failure to give the whole story
may also be fraud, especially when a defendant actively conceals information.” Id. A
half-truth or omission qualifies as a fraudulent misrepresentation “if it is intended to
induce a false belief and resulting action to the advantage of advantage of the mis-
leading and disadvantage of the misled. United States v. Stephens, 421 F.3d 503, 507
(7th Cir. 2005). So the final sentence of the Pattern Instruction is accurate, and ap-
plies to the facts of this case (at least the jury could so find).

       Counts Five Through Twenty-Two: First Element—Proof of Scheme
(page 44). Court Set 1 generally adopts the Pattern Instruction for proof of scheme,
which is more concise than the defense proposal and yet is sufficient to cover the
concept. There are two modifications: first, the defense’s proposed unanimity require-
ment is included (the government did not object to the requirement, as described be-
low). Second, the statute of limitations dates are included.



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      Counts Five Through Twenty-Two: Second Element—Intent to De-
fraud (page 45). The Court adopts the same formulation for intent to defraud that
was incorporated into the Scheme to Defraud instruction.

        Counts Five Through Twenty-Two: Second Element—Good Faith (Re-
quest 50). Court Set 1 removes request 50 and the Court takes the same approach
as the district court in Vorley, which was affirmed in United States v. Chanu, — F.
4th —, 2022 WL 2448255, at *10–11 (7th Cir. July 6, 2022). On the facts of this case,
the good-faith instruction is unnecessary (so there is no upside) and poses a substan-
tial risk of jury confusion (so there is significant downside). First, the instruction is
not needed because the very argument that the defense wishes to advance through
this instruction is already available in arguing an absence of an intent to defraud. Id.
at *10. Second, the instruction risks misleading jurors into thinking that a defense
along the lines of “mistake of law” is viable (it is not). Put another way, given the trial
evidence and lines of questioning in this case, the jury might misinterpret this in-
struction as exculpating a defendant if the defendant did not understand what they
did was a violation of the law. Request 50 is excluded.

        Counts Five Through Twenty-Two: Third Element—Materially False
 or Fraudulent Pretense, Representation, or Promise (page 46). Court Set 1
 modifies the Pattern Instruction for materiality to use the formulation “having a
 natural tendency to influence” in place of “capable of influencing.” The problem with
 “capable of influencing,” standing alone, is that the jury might misunderstand that
 a “possibility of influence” is sufficient. On top of that, the jury might misperceive
 that the evaluation is from the mindset of any individual person, rather than an
 objective, reasonable person standard. Governing case law supports the modifica-
 tion: both the Supreme Court and the Seventh Circuit routinely use both “natural
 tendency to influence” and “capable of influencing” when defining materiality in fed-
 eral fraud and false-claims cases. See, e.g., United States v. Seidling, 737 F.3d 1155,
 1160 (7th Cir. 2013) (defining “materiality” for purposes of analyzing the mail fraud
 statute as having “‘a natural tendency to influence or [is] capable of influencing the
 decision of the decisionmaking body to which it was addressed.’” (quoting Neder v.
 United States, 527 U.S. 1, 16 (1999))); United States v. Jackson, 546 F.3d 801, 815
 (7th Cir. 2008) (same); United States v. Henningsen, 387 F.3d 585, 589 (7th Cir.
 2004) (same); United States v. Fernandez, 282 F.3d 500, 508 (7th Cir. 2002) (same);
 United States v. Gee, 226 F.3d 885, 891 (7th Cir. 2000) (same); see also United States
 v. Segura, No. 14-CR-00564, R. 82 at 2–4 (N.D. Ill. May 10, 2016).




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       Counts Five Through Twenty-Two: Fourth Element—Wire Communi-
cation (page 48). Court Set 1 adopts the Pattern Instruction for wire communica-
tions. “Wire” is somewhat of an outdated term, and the Pattern provides fulsome,
present-day examples of what a wire may include.

       Counts Twenty-Four and Twenty-Five: Commodities Fraud (page 50).
Court Set 1 largely adopts the defense’s proposal (although the citation to the statute
is not needed), which is the same as the Pattern Instruction for wire fraud except that
the fourth element (connection with a commodity) is adapted for commodities fraud.
The government argues that commodities fraud does not require a false or fraudulent
pretense, representation, or promise. It is true that § 1348(1) does not explicitly men-
tion a fraudulent representation, whereas § 1348(2) does. It is also true that both
Coscia (in the Seventh Circuit) and Vorley (in the district court) say that a fraudulent
representation is not required for § 1348(1). Coscia 866 F.3d 782, 796 (7th Cir. 2017);
United States v. Vorley, 420 F. Supp.3d 784, 792–93 (N.D. Ill. 2019). But Coscia did
so in a statement that was not necessary to the case’s holding, and thus did not actu-
ally analyze the issue. Vorley too mentioned the statement in Coscia, 420 F. Supp.3d
at 792–793, but only in the course of a detailed analysis of why wire fraud covers
implied misrepresentations, id. at 793–801. In other words, the issue in Vorley was
not whether there is such a thing as a scheme to defraud that does not include even
an implied representation. Indeed, Coscia also noted that § 1348(1) “was modeled on
the federal mail and wire fraud statutes” and “the district court was on solid ground
in looking to the pattern jury instructions for those offenses.” Coscia 420 F. Supp.3d
at 799. Those Pattern Instructions do generally require a misrepresentation (which,
to repeat, can be accomplished via implied misrepresentations and omissions, as ex-
plained earlier in this Order).

       It must be acknowledged that § 1348 arguably is closer textually and structur-
ally to the bank fraud statute, § 1344, than it is to mail and wire fraud statutes,
§§ 1341, 1343. Unlike the mail and wire fraud statutes, both § 1344 (which was en-
acted much earlier than commodities fraud) and § 1348 are divided into two subsec-
tions. So the government has a fair point in arguing that § 1348(1) can cover different
ground than § 1348(2), which explicitly refers to fraudulent representations. But this
same distinction poses the puzzle discussed in the Committee Comments to the Pat-
tern Instructions on § 1344(1) (elements) and § 1344(1) (definition of scheme). In par-
ticular, the Comment to the definition of a § 13441(1) scheme explains that in Neder
v. United States, 527 U.S. 1 (1999), the Supreme Court held that materiality is an
element under § 1344. Because materiality is still required, the bottom line is that
materiality must apply to something, and for fraud schemes, that something is a

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misrepresentation (or, again, an implied misrepresentation or an omission). So, ulti-
mately, Court Set 1 includes a false or fraudulent pretense, representation, or prom-
ise as an element of commodities fraud.

       Counts Twenty-Four and Twenty-Five: Unanimity of Specific Acts
(page 51). Court Set 1 largely adopts the government’s proposal because it is clearer
and is based on Pattern 4.04. But rather than refer to generic “acts,” Court Set 1
refers to alleged misrepresentations as the subject for the unanimity. Court Set 1 also
includes the separate-consideration language.

      Counts Twenty-Four and Twenty-Five: Second Element—Good Faith
(Request 58). Court Set 1 rejects this proposed good-faith instruction for the same
reasons why Request 50 was rejected, as explained earlier in this Order.

       Counts Twenty-Four and Twenty-Five: Third Element—Materially
False or Fraudulent Pretense, Representation, or Promise (page 53). Court
Set 1 adopts the defense’s proposal. As explained above, the Court concludes that, at
least in the context of this case, commodities fraud requires a misrepresentation
(which can be accomplished by an implied misrepresentation or an omission), and
materiality is a required element. So Court Set 1 will refer the jury back to the ma-
teriality instruction for wire fraud.

      Definition of Scheme to Defraud (page 54). Court Set 1 will refer back to
the wire-fraud definition of a scheme to defraud.

       Counts Twenty-Four and Twenty-Five: Fourth Element—Commodity
(page 55). Court Set 1 adopts the defense’s proposal to define commodity. This re-
quest is appropriate because “commodity” is part of an element of the crime.

       Wire Fraud and Commodities Fraud Distinguished from Spoofing and
Rules Violations (page 57). Court Set 1 adopts a version of the limiting instruction
which the Court has provided to the jury during the trial, and further distinguishes
the first set of charges from spoofing.

      Counts Twenty-Six and Twenty-Seven: Spoofing—Elements (page 58).
Court Set 1 adopts the government’s introductory paragraph but then (as the defense
prefers) defines “spoofing” in a separate instruction.




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       Counts Twenty-Six and Twenty-Seven: Definition of Spoofing (Page
59). The definition of spoofing is generally drawn from United States v. Bases, 18-CR-
00048, R. 623 at 38, which is an accurate statement of the law and neutrally worded.
But Court Set 1 moves the time modifier—“at the time that the order was placed”—
earlier in the definitional sentence so that it is closer to the phrase “unconditional
intent to cancel.” Also, Court Set 1 adds the word “unconditional” to modify “intent to
cancel,” because the jury has heard evidence of lawful orders that for which traders
may conditionally intend to cancel (for example, fill-or-kill orders). Lastly, Court Set
1 removes “conscious desire” from the Bases instruction because it does not seem to
add anything beyond what the word “purpose” already means.

       Relevant Date Considerations for Counts Twenty-Six and Twenty-
Seven (page 61). Court Set 1 is a mix of the government’s and the defense’s pro-
posals, blending the government’s formulation using the limitations date of February
1, 2014, with the defense proposal to separate the two Defendants more clearly and
include references to the pertinent paragraph numbers. Court Set 1 also incorporates
the last sentence from each paragraph of the defense’s proposal, namely, “In addition,
you must agree unanimously on which particular trading sequence is the basis for
your guilty verdict.”

       CFTC and CME Investigations (page 62). Court Set 1 adopts a version of
the limiting instruction which the Court provided to the jury throughout the trial. At
the jury instructions conference, the Court will ask whether it is accurate to say that
the CME closed its investigation without taking further action.

       Verdict Forms. The Court adopts the government’s proposed verdict forms
(with some formatting changes). Special verdicts are disfavored because they pose the
risk of removing the general freedom of the jury in approaching deliberations how
they see fit, United States v. Sababu, 891 F.3d 1308, 1325–26 (7th Cir. 1989), and
forcing the jury to answer questions that might not need to be answered at all. For
example, if the jury finds the Defendants guilty on Count Two and unanimously agree
on one of the objects, why would they need to keep going to decide whether the other
three objects have been proven? The answer is they do not. Yet the special verdict
would require the jury to decide whether the other objects are proven or not proven.
Against that significant disadvantage, the unanimity instructions and the statute-of-




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limitations instructions already will inform the jury of the pertinent principles. The
request is rejected.

                                                    ENTERED:



                                                          s/Edmond E. Chang
                                                    Honorable Edmond E. Chang
                                                    United States District Judge

DATE: July 26, 2022




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